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                             ** CIVIL MINUTES **

Date: 01/15/2021                                      Judge: Hilton
                                                      Reporter: J. Egal
Time: 10:00 am – 10:47 am

Civil Action Number: 1:20-cv-01141


                    Robert Updegrove et al v. Mark R. Herring et al

           Counsel for Plaintiffs:                Counsel for Defendants:
           Charles Welty                          Jessica Samuels
           Jonathan Scruggs                       Toby Heytens
           Johannes Wildmalm-Delphone


Appearance of Counsel.

Matter on for:

[2] Plaintiffs’ Motion for Preliminary Injunction and [21] Defendant’s Motion to Dismiss
were argued and taken under advisement and order to follow.
